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                       Exhibit 20
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two-state solution
El britannica.com/topic/two-state-solution
Historical background and basis
The two-state solution proposed by the Oslo Accords was born out of a series of historical
events. After the fall of the Ottoman Empire, Jews and Arabs both claimed the right to self-
determination in historical Palestine. A first attempt at partitioning the land in 1948 resulted
in an Israeli state but no Palestinian state, and the West Bank and Gaza Strip fell under
Jordanian and Egyptian rule, respectively. In the Six-Day War of 1967, Israel captured and
occupied the West Bank, the Gaza Strip, and other Arab territories, which in the aftermath
led to the idea that Israel would exchange land it had captured for peace with its Arab
neighbours, including, eventually, the Palestinians.

Competing nationalisms and partition
Both Jewish and Palestinian expectations for an independent state in historical Palestine can
be traced to World War I, as the United Kingdom attempted to shore up support against the
Ottoman Empire and the Central Powers. The Hussein-McMahon correspondence of 1915–16
promised British support for Arab independence in exchange for Arab support against the
Ottoman Empire. Though the correspondence discussed the extent of territory under Arab
rule, historical Palestine, which was not located along the disputed edges and whose
population was predominantly Arab, was not explicitly discussed and was assumed to be
included in the agreement by Hussein ibn Ali, the emir of Mecca, and his supporters. The
following year the Balfour Declaration promised British support for the establishment of a
national home for the Jewish people in Palestine.

Over the following decades, waves of Jewish immigration to Palestine led to a significant
increase in the Jewish population. The rapid immigration rate, which was managed by the
United Kingdom, was met with protests from the Arab population. In 1947, as the United
Kingdom prepared to withdraw from the region, the United Nations passed a partition plan
(known as UN Resolution 181) that would divide Palestine into a Jewish state and an Arab
state, an idea originally proposed by the British government about a decade earlier. The
partition plan was rejected by the Arabs, and the ensuing conflict over territory led to the first
Arab-Israeli war (1948–49).




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UN partition plan: Israel and Palestine



UN partition plan for Palestine adopted in 1947.



Encyclopædia Britannica, Inc.

At the close of the war, the State of Israel had captured additional territory, while
Transjordan (now Jordan) took control of the West Bank and Egypt took control of the Gaza
Strip. Hundreds of thousands of Palestinians either fled or were expelled, most of them
becoming stateless refugees, while hundreds of thousands of Jews fled or were expelled from
Arab countries and were resettled in Israel. Palestinians, having no government of their own,
organized themselves into many separate groups to promote a nationalist struggle. These
groups were largely superseded by the establishment of the Palestine Liberation Organization
(PLO) in 1964, an umbrella group promoting Palestinian self-determination.

Israeli occupation of the West Bank and the Gaza Strip
Conflict between Israel and its Arab neighbours was renewed with the Six-Day War in 1967.
Israel took control of the Gaza Strip and the West Bank, including East Jerusalem, as the
Egyptian and Jordanian armies retreated. The Sinai Peninsula was among other territories
captured by Israel in the war that were not claimed by the Palestinians. In 1979 the territory




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was returned to Egypt as part of a comprehensive peace agreement known as the Camp
David Accords. That agreement, which solidified the idea of “land for peace” as a negotiating
principle, included principles that laid the foundation for a two-state solution.




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Six-Day War in Gaza



Israeli armoured troop unit entering Gaza during the Six-Day War, June 6, 1967.



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Anwar Sadat, Jimmy Carter, and Menachem Begin



(From left) Egyptian Pres. Anwar Sadat, U.S. Pres. Jimmy Carter, and Israeli Prime Minister
Menachem Begin signing the Camp David Accords at the White House, Washington, D.C.,
September 17, 1978.



Jimmy Carter Library/NARA

In 1987 Palestinians living under Israeli rule began an uprising, known as the first intifada.
The minister of defense Yitzhak Rabin initiated a harsh crackdown in an attempt to suppress
the uprising. The determination of the Palestinians, however, convinced him and many other
Israelis that permanent peace would not be possible without recognizing and negotiating
with the Palestinians. While the Likud government of Yitzhak Shamir accepted dialogue with
the PLO in Madrid in 1991, it came only after years of stalling and under intense pressure
from the United States. In 1992 Rabin (now leader of the Labour Party) was elected prime
minister with a mandate to pursue peace with the PLO.

Oslo peace process
In the 1990s a breakthrough agreement negotiated between Israeli and Palestinian leaders in
Oslo, Norway, set out a process for a mutually negotiated two-state solution to be gradually
implemented by the end of the decade. Although the process showed initial promise and
progress, a combination of dissatisfaction and distrust led to the breakdown and delay of the
process. After frustration and provocation led to the outbreak of violence in 2000, the
process proved difficult to restart before coming to a virtual halt after 2008.


Implementation of a two-state solution




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Discover a historical milestone in the Israeli-Palestinian relationship with the
signing of the Declaration of Principles, 1993



U.S. Pres. Bill Clinton shaking hands with Israeli Prime Minister Yitzhak Rabin and
Palestinian leader Yasser Arafat after the signing of the Declaration of Principles on
Palestinian Self-Rule, 1993.



CNN ImageSource
See all videos for this article

In 1993 Israel, led by Rabin’s foreign minister Shimon Peres, held a series of negotiations
with the PLO in Oslo, Norway. In early September Yasser Arafat sent a letter to Rabin saying
that the PLO recognized Israel’s right to exist, accepted UN Resolutions 242 and 338 (which
called for lasting peace with Israel in exchange for Israel’s withdrawal to its pre-1967
borders), and renounced terrorism and violence. Days later they signed a Declaration of
Principles (known as the Oslo Accords), agreeing to set up Palestinian self-government over
five years’ time in exchange for Palestinian partnership in matters of Israeli security. The
most contentious issues (including Jerusalem, final borders and Jewish settlements in the
West Bank and the Gaza Strip, and the return of Palestinian refugees) were set to be
discussed after that five-year period.




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Oslo Accords



U.S. Pres. Bill Clinton looking on as Yitzhak Rabin (left) shakes hands with Yasser Arafat
after signing the Oslo Accords in September 1993.



William J. Clinton Presidential Library/NARA

Negotiations continued as Israel and the PLO worked to implement a two-state solution on
the ground. In May 1994 a deal concluded in Cairo led to the withdrawal of Israeli forces
from the cities of Gaza and Jericho that same month and set up the Palestinian Authority
(PA) to carry out civilian functions in those areas. The PA’s autonomous governance was
extended to six other cities in 1995, after the conclusion of the Interim Agreement on the
West Bank and the Gaza Strip (known as Oslo II). A seventh city, Hebron, was to be handed
over in 1996. This agreement also split the West Bank and the Gaza Strip into three types of
territory: areas under Palestinian administration and security (“Area A”), areas under
Palestinian administration but joint Israeli-Palestinian security (“Area B”), and areas under
Israeli administration and security (“Area C”).




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Israeli and Palestinian settlements in the West Bank and Gaza Strip



The Interim Agreement on the West Bank and the Gaza Strip (1995), building off the 1993
Oslo Accords, divided the West Bank and the Gaza Strip into Areas “A” (Palestinian civil and
security control), “B” (Palestinian civil control and joint Israeli-Palestinian security control),
and “C” (Israeli civil and security control).



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Dissent and disruption
From the start, some Israelis and Palestinians sought to disrupt a two-state solution.
Religious nationalists on both sides believed their respective governments did not have the
right to cede any part of the land. In 1994, during the overlap of the Jewish festival of Purim
and the Islamic holy month of Ramadan, Jewish extremist Baruch Goldstein opened fire on
Muslim worshippers in the Sanctuary of Abraham above the Cave of Machpelah (also called
the Tomb of the Patriarchs) in Hebron, a holy site frequented by both Jews and Muslims. The
same year, Hamas, a militant Palestinian organization that likewise rejected a two-state
solution, began a campaign of suicide bombings. On November 4, 1995, Rabin was
assassinated by a Jewish extremist while attending a peace rally.




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As the election campaign to replace Rabin was underway, violence from the dissenters
persisted. After a series of suicide bombings orchestrated by Hamas in early 1996, Benjamin
Netanyahu (Likud Party), campaigning on a slogan of “peace with security,” won the election
against key Oslo negotiator Peres. Upon becoming prime minister of Israel, Netanyahu
initially refused to meet with Arafat or to implement Israel’s withdrawal from Hebron as
agreed upon by his predecessor. Netanyahu and Arafat later agreed to a partial withdrawal
from the city with the 1997 Hebron Agreement. In October 1998, five years after the Oslo
Accords were signed and final status negotiations were supposed to take place, Netanyahu
and Arafat concluded the Wye River Memorandum. Under this agreement, Israel was to
continue a partial withdrawal from the West Bank while the PA was to implement a
crackdown on Palestinian violence. The agreement was suspended the following month,
however, after opposition in Netanyahu’s coalition threatened a vote of no confidence in the
Knesset, Israel’s legislative body. Despite the suspension of the agreement, the Knesset voted
no confidence anyway, and early elections were held.




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Wye River Memorandum



Yasser Arafat (far left), leader of the Palestinian Liberation Organization, signing the Wye
River Memorandum alongside (left to right) King Hussein of Jordan, U.S. Pres. Bill Clinton,
and Israeli Prime Minister Benjamin Netanyahu, 1998.



Richard Ellis/Alamy



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Learn about the Islamic shrine the Dome of the Rock on the Temple Mount in
Jerusalem



Overview of the Dome of the Rock, Jerusalem.



Contunico © ZDF Enterprises GmbH, Mainz
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Explore the history behind the Islamic shrine Dome of the Rock on the Temple
Mount in Jerusalem



Learn about the Dome of the Rock, the oldest extant Islamic monument, which was
completed in 619–692 in Jerusalem.



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See all videos for this article

Sharon was elected in 2001 in the midst of the second intifada, which had been sparked by
his visit in 2000 to the Temple Mount. Negotiations stalled as the Israeli-Palestinian conflict
reached one of its most violent periods. Israeli troops reentered cities in the West Bank and
confined Arafat to his compound in Ramallah until he fell gravely ill in 2004. Sharon,
meanwhile, tried a new approach to the peace process in 2005 by unilaterally dismantling
Jewish settlements in the Gaza Strip (along with four Jewish settlements in the West Bank)
and withdrawing Israeli troops from the territory. Facing fierce opposition, especially within
his own party, he formed a new party, Kadima, which was committed to the pursual of a two-
state solution.

Sharon suffered a massive stroke in early 2006, only months before elections. Ehud Olmert
became acting prime minister and took the reins of Kadima, which became the dominant
party in the Knesset after the elections. The PA also held legislative elections early that year,



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in which Hamas won a surprise majority. Although some leaders of Hamas now indicated a
willingness to accept a two-state solution, as well as the bilateral agreements between Israel
and the PA, Israel was unwilling to negotiate with a Hamas-led government.

After armed infighting among factions in 2007, PA Pres. Mahmoud Abbas dissolved the
government, leaving Hamas out of the PA. Peace talks between Israel and the PA commenced
later that year with an international conference in Annapolis, Maryland, U.S. The
negotiations continued into 2008 but failed to lead to a new deal after Olmert was forced to
step down amid corruption charges. His foreign minister, Tzipi Livni, was unable to win the
post of prime minister to replace him. The contents of the talks, which discussed final status
issues, were leaked and published by Al Jazeera in 2011. Both sides seemed to accept on
principle the division of Jerusalem and a symbolic number of Palestinians refugees to be
repatriated into Israel. In one of the meetings, moreover, Olmert offered the Palestinian
negotiators more than 93 percent of the territory they claimed in the West Bank.


Abandonment of negotiations: Netanyahu, Jewish settlements in the
West Bank, and the 2020 proposal
Netanyahu was returned to the post of prime minister in 2009. President Abbas insisted that
Netanyahu pick up negotiations where Olmert had left them and refused to meet without a
freeze on building Jewish settlements on territory claimed by the Palestinians. Under
pressure from the United States, Netanyahu implemented a freeze on settlements in the West
Bank from November 2009 to September 2010. Because a freeze was not implemented for
Jewish neighbourhoods in East Jerusalem, which Netanyahu insisted were not settlements,
Abbas refused to meet until the last few weeks of the freeze. When the freeze ended,
negotiations ceased. Direct talks did not occur again until Livni was appointed to resume the
task in 2013–14. The talks fell apart after relations continued to falter and negotiators failed
to make significant progress within the set timetable.




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2020 and envisioned predetermined solutions to final status issues: Israel would keep nearly
all of its West Bank settlements, impose sovereignty over the Jordan Valley located along the
West Bank’s eastern border, and retain an undivided Jerusalem as its capital, while
Palestinians would receive demilitarized self-governance within a reduced West Bank
territory and the Gaza Strip. The plan, which was received favourably by Israeli leaders but
condemned by Palestinian leaders, did little to revitalize negotiations before the end of
Trump’s presidency. In 2021 the administration of U.S. Pres. Joe Biden began restoring aid
to the Palestinians and promised to reopen the PLO office in Washington, D.C.

The Editors of Encyclopaedia Britannica




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